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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 WESTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.    Debtor's name                    Lone Star Brewery Development, Inc.

2.    All other names debtor used
      in the last 8 years

      Include any assumed names,
      trade names and doing
      business as names


3.    Debtor's federal Employer
      Identification Number (EIN)          4      7      –      2      9        4    5         2   9     1

4.    Debtor's address                 Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       500 & 600 Lone Star Blvd                                        c/o Keith Smith
                                       Number         Street                                           Number     Street
                                                                                                       Parkview Capital
                                                                                                       P.O. Box
                                                                                                       1233 West Loop South, Suite 1170

                                       San Antonio                         TX       78204              Houston                       TX      77027
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Bexar                                                           from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.    Debtor's website (URL)

6.    Type of debtor                           Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor Lone Star Brewery Development, Inc.                                                 Case number (if known)

7.    Describe debtor's business       A. Check one:

                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above


                                       B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes

                                             2      3       6      1

8.    Under which chapter of the       Check one:
      Bankruptcy Code is the
      debtor filing?                        Chapter 7
                                            Chapter 9
                                            Chapter 11. Check all that apply:
                                                            Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                            4/01/22 and every 3 years after that).

                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                debtor is a small business debtor, attach the most recent balance sheet,
                                                                statement of operations, cash-flow statement, and federal income tax return or if
                                                                all of these documents do not exist, follow the procedure in
                                                                11 U.S.C. § 1116(1)(B).

                                                                A plan is being filed with this petition.

                                                                Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                                Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                                form.

                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                Rule 12b-2.

                                            Chapter 12

9.    Were prior bankruptcy                 No
      cases filed by or against
      the debtor within the last 8          Yes. District                                          When                      Case number
      years?                                                                                                MM / DD / YYYY

                                                 District                                          When                      Case number
      If more than 2 cases, attach a
                                                                                                            MM / DD / YYYY
      separate list.
                                                 District                                          When                      Case number
                                                                                                            MM / DD / YYYY



Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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Debtor Lone Star Brewery Development, Inc.                                               Case number (if known)

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                  District                                                    When
    List all cases. If more than 1,                                                                                          MM / DD / YYYY
    attach a separate list.                       Case number, if known


                                                  Debtor                                                      Relationship

                                                  District                                                    When
                                                                                                                             MM / DD / YYYY
                                                  Case number, if known


11. Why is the case filed in          Check all that apply:
    this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                           days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                           any other district.

                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                           district.


12. Does the debtor own or                 No
    have possession of any                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                   needed.
    property that needs
                                                Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                     related assets or other options).

                                                     Other


                                                Where is the property?
                                                                              Number      Street




                                                                              City                                      State        ZIP Code

                                                Is the property insured?

                                                     No
                                                     Yes. Insurance agency

                                                              Contact name

                                                              Phone


              Statistical and adminstrative information
13. Debtor's estimation of            Check one:
    available funds                       Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.



Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
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Debtor Lone Star Brewery Development, Inc.                                               Case number (if known)

14. Estimated number of                     1-49                               1,000-5,000                               25,001-50,000
    creditors                               50-99                              5,001-10,000                              50,001-100,000
                                            100-199                            10,001-25,000                             More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 01/06/2020
                                                      MM / DD / YYYY

                                          X /s/ Keith Smith                                         Keith Smith
                                              Signature of authorized representative of debtor      Printed name

                                          Title President

18. Signature of attorney                X /s/ Thomas Rice                                                        Date     01/06/2020
                                            Signature of attorney for debtor                                              MM / DD / YYYY

                                            Thomas Rice
                                            Printed name
                                            Pulman, Cappuccio & Pullen, LLP
                                            Firm name
                                            2161 NW Military Highway
                                            Number          Street
                                            Suite 400

                                            San Antonio                                                TX                   78213
                                            City                                                       State                ZIP Code


                                            (210) 222-9494                                             trice@pulmanlaw.com
                                            Contact phone                                              Email address
                                            24025613                                                   TX
                                            Bar number                                                 State




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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 Fill in this information to identify the case
 Debtor name          Lone Star Brewery Development, Inc.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
            No. Go to Part 2.
            Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                              debtor's interest

2.     Cash on hand

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    Bank of America                                               Checking account                    9   7   8     8                   $30.52
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                            $30.52


 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
           Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                           page 1
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Debtor        Lone Star Brewery Development, Inc.                                          Case number (if known)
              Name

                                                                                                                                 Current value of
                                                                                                                                 debtor's interest
7.    Deposits, including security deposits and utility deposits

      Description, including name of holder of deposit

8.    Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

      Description, including name of holder of prepayment

9.    Total of Part 2.
                                                                                                                                                 $0.00
      Add lines 7 through 8. Copy the total to line 81.

 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

          No. Go to Part 4.
          Yes. Fill in the information below.
                                                                                                                                 Current value of
                                                                                                                                 debtor's interest
11. Accounts receivable

11a. 90 days old or less:                                   –                                        = .......................
                            face amount                         doubtful or uncollectible accounts

11b. Over 90 days old:                                      –                                        = .......................
                            face amount                         doubtful or uncollectible accounts

12. Total of Part 3
                                                                                                                                                 $0.00
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4: Investments

13. Does the debtor own any investments?

          No. Go to Part 5.
          Yes. Fill in the information below.
                                                                                            Valuation method                     Current value of
                                                                                            used for current value               debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

      Name of entity:                                          % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

       Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                 $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

          No. Go to Part 6.
          Yes. Fill in the information below.




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                                   page 2
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Debtor       Lone Star Brewery Development, Inc.                                       Case number (if known)
             Name

     General description                         Date of the       Net book value of    Valuation method          Current value of
                                                 last physical     debtor's interest    used for current value    debtor's interest
                                                 inventory         (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
                                                                                                                                  $0.00
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.

     General description                                           Net book value of    Valuation method          Current value of
                                                                   debtor's interest    used for current value    debtor's interest
                                                                   (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
                                                                                                                                  $0.00
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                   No
                   Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes


Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 3
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Debtor       Lone Star Brewery Development, Inc.                                        Case number (if known)
             Name


 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
                                                                    debtor's interest    used for current value   debtor's interest
                                                                    (Where available)
39. Office furniture

     3 Desks
     Conference Table
     6 Chairs
     Shelving                                                                                                                Unknown
40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

     Leased copier                                                                                                                $0.00
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
                                                                                                                                  $0.00
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes

 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
     Include year, make, model, and identification numbers          debtor's interest    used for current value   debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

48.1. Leased Construction Site Trailer                                                                                            $0.00
49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
                                                                                                                                  $0.00
    Add lines 47 through 50. Copy the total to line 87.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 4
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Debtor       Lone Star Brewery Development, Inc.                                         Case number (if known)
             Name

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes

 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.

55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property          Nature and extent       Net book value of     Valuation method       Current value of
       Include street address or other description   of debtor's interest    debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),         in property             (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

55.1. 500 & 600 Lone Star Blvd
       San Antonio, TX 78204
       32.25 acre industrial complex                 Fee Simple                $30,000,000.00 Appraisal                        $30,000,000.00
56. Total of Part 9.
                                                                                                                               $30,000,000.00
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                          $0.00




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 5
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Debtor       Lone Star Brewery Development, Inc.                                         Case number (if known)
             Name

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                   Current value of
                                                                                                                   debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
                                                                                                                                   $0.00
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                     page 6
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Debtor           Lone Star Brewery Development, Inc.                                                                 Case number (if known)
                 Name


 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                                  $30.52
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                                   $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                       $0.00

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                                 $0.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                                       $0.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                              $0.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................    $30,000,000.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +                  $0.00

91. Total. Add lines 80 through 90 for each column.                        91a.                    $30.52        +     91b.       $30,000,000.00


                                                                                                                                                              $30,000,030.52
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                       page 7
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 Fill in this information to identify the case:
 Debtor name          Lone Star Brewery Development, Inc.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                                                                       Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
          BI 28, LLC                                       subject to a lien                                $12,000,000.00           $30,000,000.00

          Creditor's mailing address                       First lien on 32.25 acres of land
          2601 S. Bayshore Drive, Suite 1200               Describe the lien
                                                           Deed of Trust / Agreement
                                                           Is the creditor an insider or related party?
          Miami                      FL     33133               No
                                                                Yes
          Creditor's email address, if known
                                                           Is anyone else liable on this claim?
          Date debt was incurred          2/15/2018            No
                                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                   Contingent
              No                                               Unliquidated
              Yes. Specify each creditor, including this       Disputed
              creditor, and its relative priority.
1) BI 28, LLC; 2) Princeton Capital Corporation.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                             $26,029,003.50


Official Form 206D                           Schedule D: Creditors Who Have Claims Secured by Property                                         page 1
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Debtor       Lone Star Brewery Development, Inc.                                             Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.2     Creditor's name                                     Describe debtor's property that is
         Princeton Capital Corporation                       subject to a lien                                $14,029,003.50          $30,000,000.00

         Creditor's mailing address                          Second lien on 32.25 acres of land
         800 Turnpike Street, Suite 300                      Describe the lien
                                                             Deed of Trust / Agreement
                                                             Is the creditor an insider or related party?
         New Andover                MA    01845                   No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred       4/10/2015                  No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines 2.1




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2
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 Fill in this information to identify the case:
 Debtor              Lone Star Brewery Development, Inc.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                                                                   Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the
                                                                claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:

Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(     )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
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Debtor        Lone Star Brewery Development, Inc.                                      Case number (if known)

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $55,056.33
                                                                   Check all that apply.
CFGI                                                                   Contingent
1835 Market Street                                                     Unliquidated
                                                                       Disputed
Suite 910
                                                                   Basis for the claim:
Philadelphia                             PA       19103            Accountant

Date or dates debt was incurred         11/30/2019                 Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.2   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                      $368.57
                                                                   Check all that apply.
CPS Energy                                                             Contingent
PO Box 2678                                                            Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
San Antonio                              TX       78289            Utility

Date or dates debt was incurred         11/12/2019                 Is the claim subject to offset?
                                                                        No
Last 4 digits of account number          6    6    9   3                Yes


     3.3   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $6,090.00
                                                                   Check all that apply.
David M. Abner & Associates                                            Contingent
747 Third Avenue, 2d Floor                                             Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
New York                                 NY       10017            Attorney Fees

Date or dates debt was incurred         11/30/2019                 Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.4   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                 $415,626.76
                                                                   Check all that apply.
Newell Nano Family Limited Partnership                                 Contingent
726 Probandt St., Suite 201                                            Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
San Antonio                              TX       78204            Non-Purchase Money

Date or dates debt was incurred         4/10/2015                  Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                    N   A                Yes




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
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Debtor       Lone Star Brewery Development, Inc.                                    Case number (if known)

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

   3.5     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:            $550,000.00
                                                                Check all that apply.
NRP Properties, LLC                                                 Contingent
1228 Euclid Avenue, 4th Floor                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Cleveland                              OH       44115           Contractual Claim

Date or dates debt was incurred      8/18/2016                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


   3.6     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $46,618.51
                                                                Check all that apply.
Pine Hill Group                                                     Contingent
1835 Market Street                                                  Unliquidated
                                                                    Disputed
Suite 910
                                                                Basis for the claim:
Philadelphia                           PA       19103           Accountant

Date or dates debt was incurred      6/30/2019                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


   3.7     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $4,335.56
                                                                Check all that apply.
Robinson & Fogle Insurance Agency, Inc.                             Contingent
PO Box 932                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Cypress                                TX       77410           Insurance

Date or dates debt was incurred      12/1/2019                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


   3.8     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,546.38
                                                                Check all that apply.
Statewide Patrol, Inc.                                              Contingent
8626 Tesoro Dr. Suite 504                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
San Antonio                            TX       78217           Trade

Date or dates debt was incurred      7/1/2019                   Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 3
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Debtor       Lone Star Brewery Development, Inc.                                    Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

   3.9     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $4,668.75
                                                                Check all that apply.
STOUT RISIUS ROSS, LLC                                              Contingent
P.O. Box 71770                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Chicago                                IL       60694           Trade

Date or dates debt was incurred      8/12/2019                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.10     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,867.31
                                                                Check all that apply.
UBEO of Austin, Inc.                                                Contingent
PO Box 660831                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75266           Copier Lease

Date or dates debt was incurred      9/30/2019                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       1     0    0   0               Yes


  3.11     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:             $16,265.97
                                                                Check all that apply.
Williams Scotsman, Inc.                                             Contingent
PO BOX 91975                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Chicago                                IL       60693           Construction Trailer Lease

Date or dates debt was incurred      11/28/2019                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       9     0    7   9               Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4
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Debtor        Lone Star Brewery Development, Inc.                                          Case number (if known)

 Part 3:       List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
      listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages
      are needed, copy the next page.

         Name and mailing address                                              On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                               related creditor (if any) listed?               account number,
                                                                                                                               if any

4.1      Edwards Aquifer Authority                                             Line
         900 E. Quincy                                                                Not listed. Explain:
                                                                                      Notice Only


         San Antonio                   TX      78215


4.2      Internal Revenue Service                                              Line
         Centralized Insolvency Office                                                Not listed. Explain:
         P.O. Box 7346                                                                Notice Only


         Philadelphia                  PA      19101-7346


4.3      Texas Commission on Environmental Qualit                              Line
         P.O. Box 13088                                                               Not listed. Explain:
                                                                                      Notice Only


         Austin                        TX      78711-3089


4.4      Texas Comptroller Public Accounts                                     Line
         Revenue Accounting Division                                                  Not listed. Explain:
         Bankr. Dept.                                                                 Notice Only
         P.O. Box 13528 Capitol Station
         Austin                        TX      78711


4.5      Texas Office of the Attorney General                                  Line
         ATTN: BKCY                                                                   Not listed. Explain:
         P.O. Box 12548                                                               Notice Only


         Austin                        TX      78711-2548


4.6      United States Trustee                                                 Line
         615 E. Houston, Suite 533                                                    Not listed. Explain:
                                                                                      Notice Only


         San Antonio                   TX      78205




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                            page 5
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Debtor       Lone Star Brewery Development, Inc.                                 Case number (if known)

 Part 3:      Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                    On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                     related creditor (if any) listed?          account number,
                                                                                                                if any

4.7      US Attorney's Office                                        Line
         Attn: Gary Wright / BKCY                                           Not listed. Explain:
         601 NW Loop 410 #600                                               Notice Only


         San Antonio                TX    78216




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                 page 6
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Debtor      Lone Star Brewery Development, Inc.                               Case number (if known)

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                       $0.00

5b. Total claims from Part 2                                                              5b.   +          $1,104,444.14


5c. Total of Parts 1 and 2                                                                5c.              $1,104,444.14
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 7
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 Fill in this information to identify the case:
 Debtor name         Lone Star Brewery Development, Inc.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                  Chapter      11                                      Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       Copier Lease                                    UBEO of Austin, Inc.
          or lease is for and the
                                                                                        PO Box 660831
          nature of the debtor's
          interest

          State the term remaining
          List the contract
                                                                                       Dallas                              TX            75266
          number of any
          government contract

2.2       State what the contract       Construction Trailer Lease                      Williams Scotsman, Inc.
          or lease is for and the
                                                                                        PO BOX 91975
          nature of the debtor's
          interest

          State the term remaining
          List the contract
                                                                                       Chicago                             IL            60693
          number of any
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify the case:
 Debtor name         Lone Star Brewery Development, Inc.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                                                                        Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    Keith W. Smith                  1233 West Loop South, Suite 1170                       BI 28, LLC                            D
                                       Number      Street                                                                           E/F
                                                                                                                                    G

                                       Houston                        TX      77027
                                       City                           State   ZIP Code


2.2    Mark Smith                      4103 Drummond St.                                      Newell Nano Family                    D
                                       Number      Street                                     Limited Partnership                   E/F
                                                                                                                                    G

                                       Houston                        TX      77025
                                       City                           State   ZIP Code


2.3    Parkview Capital Credit,        1233 W. Loop South, Suite 1170                         BI 28, LLC                            D
       Inc.                            Number      Street                                                                           E/F
                                                                                                                                    G

                                       Houston                        TX      77027
                                       City                           State   ZIP Code




Official Form 206H                                            Schedule H: Codebtors                                                           page 1
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 Fill in this information to identify the case:


 Debtor Name Lone Star Brewery Development, Inc.

 United States Bankruptcy Court for the:                   WESTERN DISTRICT OF TEXAS


 Case number (if known):                                                                                                                                                            Check if this is an
                                                                                                                                                                                    amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                               12/15



 Part 1:           Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                               $30,000,000.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                             $30.52
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                               $30,000,030.52
         Copy line 92 from Schedule A/B........................................................................................................................................................................


 Part 2:           Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                 $26,029,003.50
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D......................................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                 $0.00
         Copy the total claims from Part 1 from line 5a of Schedule E/F..............................................................................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                              + $1,104,444.14
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F...................................................................................................................


4.   Total liabilities
     Lines 2 + 3a + 3b........................................................................................................................................................................$27,133,447.64




Official Form 206Sum                                         Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case and this filing:
 Debtor Name         Lone Star Brewery Development, Inc.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
            or another individual serving as a representative of the debtor in this case.

            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
            correct:


                 Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                 Amended Schedule

                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                 (Official Form 204)

                 Other document that requires a declaration


            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on 01/06/2020                       X /s/ Keith Smith
                        MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                             Keith Smith
                                                             Printed name
                                                             President
                                                             Position or relationship to debtor




Official Form B202                     Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name        Lone Star Brewery Development, Inc.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

         None

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         None

 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
     adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         None

      Creditor's name and address                             Dates            Total amount or value     Reasons for payment or transfer
                                                                                                         Check all that apply
3.1. BI 28, LLC                                               11/1/2019            $146,895.83               Secured debt
      Creditor's name
      2601 S. Bayshore Drive, Suite 1200                                                                     Unsecured loan repayments
      Street                                                                                                 Suppliers or vendors
                                                                                                             Services
      Miami                           FL      33133                                                          Other
      City                            State   ZIP Code

      Creditor's name and address                             Dates            Total amount or value     Reasons for payment or transfer
                                                                                                         Check all that apply
3.2. Robinson & Fogle Insurance Agency, Inc.                  11/1/2019              $4,335.56               Secured debt
      Creditor's name
      PO Box 932                                                                                             Unsecured loan repayments
      Street                                                                                                 Suppliers or vendors
                                                                                                             Services
      Cypress                         TX      77410                                                          Other
      City                            State   ZIP Code

      Creditor's name and address                             Dates            Total amount or value     Reasons for payment or transfer
                                                                                                         Check all that apply
3.3. Robinson & Fogle Insurance Agency, Inc.                  11/1/2019              $1,941.63               Secured debt
      Creditor's name
      PO Box 932                                                                                             Unsecured loan repayments
      Street                                                                                                 Suppliers or vendors
                                                                                                             Services
      Cypress                         TX      77410                                                          Other
      City                            State   ZIP Code



Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
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Debtor         Lone Star Brewery Development, Inc.                                Case number (if known)
               Name

      Creditor's name and address                         Dates           Total amount or value    Reasons for payment or transfer
                                                                                                   Check all that apply
3.4. Pender Capital Managment, LLC                        11/7/2019            $15,000.00              Secured debt
      Creditor's name
      3232 McKinney Ave., Suite 855                                                                    Unsecured loan repayments
      Street                                                                                           Suppliers or vendors
                                                                                                       Services
      Dallas                        TX      75204                                                      Other
      City                          State   ZIP Code

      Creditor's name and address                         Dates           Total amount or value    Reasons for payment or transfer
                                                                                                   Check all that apply
3.5. Robinson & Fogle Insurance Agency, Inc.              11/20/2019            $4,572.33              Secured debt
      Creditor's name
      PO Box 932                                                                                       Unsecured loan repayments
      Street                                                                                           Suppliers or vendors
                                                                                                       Services
      Cypress                       TX      77410                                                      Other
      City                          State   ZIP Code

      Creditor's name and address                         Dates           Total amount or value    Reasons for payment or transfer
                                                                                                   Check all that apply
3.6. Robinson & Fogle Insurance Agency, Inc.              11/22/2019             $994.49               Secured debt
      Creditor's name
      PO Box 932                                                                                       Unsecured loan repayments
      Street                                                                                           Suppliers or vendors
                                                                                                       Services
      Cypress                       TX      77410                                                      Other
      City                          State   ZIP Code

      Creditor's name and address                         Dates           Total amount or value    Reasons for payment or transfer
                                                                                                   Check all that apply
3.7. Robinson & Fogle Insurance Agency, Inc.              12/18/2019            $4,552.33              Secured debt
      Creditor's name
      PO Box 932                                                                                       Unsecured loan repayments
      Street                                                                                           Suppliers or vendors
                                                                                                       Services
      Cypress                       TX      77410                                                      Other
      City                          State   ZIP Code

      Creditor's name and address                         Dates           Total amount or value    Reasons for payment or transfer
                                                                                                   Check all that apply
3.8. BI 28, LLC                                           12/18/2019            $1,821.99              Secured debt
      Creditor's name
      2601 S. Bayshore Drive, Suite 1200                                                               Unsecured loan repayments
      Street                                                                                           Suppliers or vendors
                                                                                                       Services
      Miami                         FL      33133                                                      Other
      City                          State   ZIP Code




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 2
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Debtor         Lone Star Brewery Development, Inc.                                             Case number (if known)
               Name

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


         None

5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.

         None

6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.

         None

 Part 3:        Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.

         None

      Case title                             Nature of case                             Court or agency's name and address               Status of case
7.1. NRP Properties, LLC v. Lone             Breach of Contract                         150 Judicial District Bexar County, TX
                                                                                                                                              Pending
      Star Brewery Development,                                                         Name
      Inc.                                                                              100 Dolorosa, 2nd Floor                               On appeal
                                                                                        Street
                                                                                                                                              Concluded
                                                                                        Room 2.23
      Case number
      2017-CI-23253                                                                     San Antonio               TX      78205
                                                                                        City                      State   ZIP Code

8.   Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

         None




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Debtor          Lone Star Brewery Development, Inc.                                       Case number (if known)
                Name


 Part 4:          Certain Gifts and Charitable Contributions
9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
     aggregate value of the gifts to that recipient is less than $1,000

          None

 Part 5:          Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

          None

         Who was paid or who received the transfer?           If not money, describe the property             Dates               Total amount
                                                              transferred                                                         or value
 11.1. Pulman, Cappuccio & Pullen, LLP                                                                        1/06/2020              $80,000.00

         Address

         2161 NW Military Hwy., Suite 400
         Street


         San Antonio                 TX      78213
         City                        State   ZIP Code

         Email or website address
         www.pulmanlaw.com

         Who made the payment, if not debtor?



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None




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Debtor        Lone Star Brewery Development, Inc.                                          Case number (if known)
              Name

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.

         None

 Part 7:        Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

         Does not apply


 Part 8:        Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to Part 9.
         Yes. Fill in the information below.

 Part 9:        Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

         No.
         Yes. State the nature of the information collected and retained

                Does the debtor have a privacy policy about that information?
                   No.
                   Yes.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                  No. Go to Part 10.
                  Yes. Fill in below:




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Debtor       Lone Star Brewery Development, Inc.                                            Case number (if known)
             Name


 Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.

         None

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

         None

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

         None

 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


         None

 Part 12:       Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
   the medium affected (air, land, water, or any other medium).


   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
   formerly owned, operated, or utilized.

   Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
   similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

         No
         Yes. Provide details below.




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Debtor         Lone Star Brewery Development, Inc.                                         Case number (if known)
               Name

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

           No
           Yes. Provide details below.

Site name and address                          Governmental unit name and address           Environmental law, if known               Date of notice
Lone Star Brewery                              Edwards Aquifer Authority                    Abandoned Wells                            10/24/2016
Name                                           Name

600 Lone Star Blvd.                            900 E. Quincy
Street                                         Street




San Antonio                TX      78210       San Antonio              TX      78215
City                       State   ZIP Code    City                     State   ZIP Code

24. Has the debtor notified any govermental unit of any release of hazardous material?

           No
           Yes. Provide details below.

  Part 13:        Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

           None

26. Books, records, and financial statements

       26a.   List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                   None

                  Name and address                                                                 Dates of service

         26a.1. CFGI                                                                               From                     To
                  Name
                  1835 Market Street
                  Street
                  Suite 910

                  Philadelphia                                PA          19103
                  City                                        State       ZIP Code

                  Name and address                                                                 Dates of service

         26a.2. Pine Hill Group                                                                    From                     To
                  Name
                  1835 Market Street
                  Street
                  Suite 910
                  Philadelphia                                PA          19103
                  City                                        State       ZIP Code




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Debtor        Lone Star Brewery Development, Inc.                                           Case number (if known)
              Name

    26b.    List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
            statement within 2 years before filing this case.

                None

               Name and address                                                                     Dates of service

      26b.1. CFGI                                                                                   From                      To
               Name
               1835 Market Street
               Street
               Suite 910

               Philadelphia                                   PA          19103
               City                                           State       ZIP Code

               Name and address                                                                     Dates of service

      26b.2. Mazars USA LLP                                                                         From                      To
               Name
               60 Crossways Park Drive West, Suite 301
               Street


               Woodbury                                       NY          11797
               City                                           State       ZIP Code

    26c.    List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

                None

               Name and address                                                                  If any books of account and records are
                                                                                                 unavailable, explain why
         26c.1. CFGI
               Name
               1835 Market Street
               Street
               Suite 910
               Philadelphia                                   PA          19103
               City                                           State       ZIP Code

               Name and address                                                                  If any books of account and records are
                                                                                                 unavailable, explain why
         26c.2. Parkview Capital
               Name
               1233 West Loop South, Suite 1170
               Street


               Houston                                        TX          77027
               City                                           State       ZIP Code

    26d.    List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
            financial statement within 2 years before filing this case.

                None

               Name and address

      26d.1. BI 28, LLC
               Name
               2601 S. Bayshore Drive, Suite 1200
               Street


               Miami                                          FL          33133
               City                                           State       ZIP Code




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Debtor       Lone Star Brewery Development, Inc.                                          Case number (if known)
             Name

               Name and address

       26d.2. Princeton Capital Corporation
               Name
               800 Turnpike Street, Suite 300
               Street


               New Andover                                   MA          01845
               City                                          State       ZIP Code

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

         No.
         Yes. Give the details about the two most recent inventories.

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                    Address                                      Position and nature of any interest       % of interest, if any

Keith W. Smith                          1233 West Loop South, Suite 1170             President / Officer
                                        Houston, TX 77027
Parkview Capital Credit, Inc.           1233 West Loop South, Suite 1170             Sole Shareholder / Shareholder                    100%
                                        Houston, TX 77027
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

         No
         Yes. Identify below.

Name                                    Address                                      Position and nature of       Period during which position
                                                                                     any interest                 or interest was held
30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

         No
         Yes. Identify below.

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

         No
         Yes. Identify below.

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

         No
         Yes. Identify below.




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Debtor        Lone Star Brewery Development, Inc.                                        Case number (if known)
              Name


 Part 14:      Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 01/06/2020
            MM / DD / YYYY
X /s/ Keith Smith                                                            Printed name Keith Smith
   Signature of individual signing on behalf of the debtor

   Position or relationship to debtor President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    No
    Yes




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 10
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 Fill in this information to identify the case:
 Debtor name        Lone Star Brewery Development, Inc.

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                                                                                Check if this is an
 (if known)                                                                                                                 amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                            12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and          Name, telephone         Nature of the claim    Indicate if     Amount of unsecured claim
 complete mailing              number, and email       (for example, trade    claim is        If the claim is fully unsecured, fill in only
 address, including zip        address of              debts, bank loans,     contingent,     unsecured claim amount. If claim is partially
 code                          creditor                professional           unliquidated,   secured, fill in total claim amount and
                               contact                 services, and          or disputed     deduction for value of collateral or setoff to
                                                       government                             calculate unsecured claim.
                                                       contracts)
                                                                                              Total           Deduction       Unsecured
                                                                                              claim, if       for value       claim
                                                                                              partially       of
                                                                                              secured         collateral
                                                                                                              or setoff
1   NRP Properties, LLC                                Contractual Claim      Unliquidated                                       $550,000.00
    1228 Euclid Avenue, 4th                                                   Disputed
    Floor
    Cleveland, OH 44115



2   Newell Nano Family                                 Non-Purchase                                                              $415,626.76
    Limited Partnership                                Money
    726 Probandt St., Suite
    201
    San Antonio, TX 78204

3   CFGI                                               Accountant                                                                  $55,056.33
    1835 Market Street
    Suite 910
    Philadelphia, PA 19103



4   Pine Hill Group                                    Accountant                                                                  $46,618.51
    1835 Market Street
    Suite 910
    Philadelphia, PA 19103



5   Williams Scotsman, Inc.                            Construction Trailer                                                        $16,265.97
    PO BOX 91975                                       Lease
    Chicago, IL 60693




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                       page 1
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Debtor       Lone Star Brewery Development, Inc.                                Case number (if known)
             Name


 Name of creditor and         Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing             number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip       address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                         creditor              professional          unliquidated,   secured, fill in total claim amount and
                              contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                    government                            calculate unsecured claim.
                                                    contracts)
                                                                                          Total           Deduction       Unsecured
                                                                                          claim, if       for value       claim
                                                                                          partially       of
                                                                                          secured         collateral
                                                                                                          or setoff
6   David M. Abner &                                Attorney Fees                                                               $6,090.00
    Associates
    747 Third Avenue, 2d
    Floor
    New York, NY 10017

7   STOUT RISIUS ROSS,                              Trade                                                                       $4,668.75
    LLC
    P.O. Box 71770
    Chicago, IL 60694



8   Robinson & Fogle                                Insurance                                                                   $4,335.56
    Insurance Agency, Inc.
    PO Box 932
    Cypress, TX 77410



9   Statewide Patrol, Inc.                          Trade                                                                       $3,546.38
    8626 Tesoro Dr. Suite
    504
    San Antonio, TX 78217



10 UBEO of Austin, Inc.                             Copier Lease                                                                $1,867.31
   PO Box 660831
   Dallas, TX 75266




11 CPS Energy                                       Utility                                                                       $368.57
   PO Box 2678
   San Antonio, TX 78289




Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 2
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                                      UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF TEXAS
                                            SAN ANTONIO DIVISION
  IN RE:   Lone Star Brewery Development, Inc.                                      CASE NO

                                                                                   CHAPTER    11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 1/6/2020                                            Signature    /s/ Keith Smith
                                                                     Keith Smith
                                                                     President


Date                                                     Signature
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                            BI 28, LLC
                            2601 S. Bayshore Drive, Suite 1200
                            Miami, FL 33133



                            CFGI
                            1835 Market Street
                            Suite 910
                            Philadelphia, PA 19103


                            CPS Energy
                            PO Box 2678
                            San Antonio, TX 78289



                            David M. Abner & Associates
                            747 Third Avenue, 2d Floor
                            New York, NY 10017



                            Edwards Aquifer Authority
                            900 E. Quincy
                            San Antonio, TX 78215



                            Internal Revenue Service
                            Centralized Insolvency Office
                            P.O. Box 7346
                            Philadelphia, PA 19101-7346


                            Keith W. Smith
                            1233 West Loop South, Suite 1170
                            Houston, TX 77027



                            Mark Smith
                            4103 Drummond St.
                            Houston, TX 77025



                            Newell Nano Family Limited Partnership
                            726 Probandt St., Suite 201
                            San Antonio, TX 78204
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                            NRP Properties, LLC
                            1228 Euclid Avenue, 4th Floor
                            Cleveland, OH 44115



                            Parkview Capital Credit, Inc.
                            1980 Post Oak Blvd., Suite 1500
                            Houston, TX 77056



                            Parkview Capital Credit, Inc.
                            1233 W. Loop South, Suite 1170
                            Houston, TX 77027



                            Pine Hill Group
                            1835 Market Street
                            Suite 910
                            Philadelphia, PA 19103


                            Princeton Capital Corporation
                            800 Turnpike Street, Suite 300
                            New Andover, MA 01845



                            Robinson & Fogle Insurance Agency, Inc.
                            PO Box 932
                            Cypress, TX 77410



                            Statewide Patrol, Inc.
                            8626 Tesoro Dr. Suite 504
                            San Antonio, TX 78217



                            STOUT RISIUS ROSS, LLC
                            P.O. Box 71770
                            Chicago, IL 60694



                            Texas Commission on Environmental Qualit
                            P.O. Box 13088
                            Austin, TX 78711-3089
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                            Texas Comptroller Public Accounts
                            Revenue Accounting Division
                            Bankr. Dept.
                            P.O. Box 13528 Capitol Station
                            Austin, TX 78711

                            Texas Office of the Attorney General
                            ATTN: BKCY
                            P.O. Box 12548
                            Austin, TX 78711-2548


                            UBEO of Austin, Inc.
                            PO Box 660831
                            Dallas, TX 75266



                            United States Trustee
                            615 E. Houston, Suite 533
                            San Antonio, TX 78205



                            US Attorney's Office
                            Attn: Gary Wright / BKCY
                            601 NW Loop 410 #600
                            San Antonio, TX 78216


                            Williams Scotsman, Inc.
                            PO BOX 91975
                            Chicago, IL 60693
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                                           UNITED STATES BANKRUPTCY COURT
                                              WESTERN DISTRICT OF TEXAS
                                                 SAN ANTONIO DIVISION
    IN RE:                                                                         CHAPTER       11
    Lone Star Brewery Development, Inc.



    DEBTOR(S)                                                                      CASE NO



                                            LIST OF EQUITY SECURITY HOLDERS

 Registered Name of Holder of Security                             Class of Security          Number Registered          Kind of Interest
 Last Known Address or Place of Business                                                                                 Registered

 Parkview Capital Credit, Inc.                                     A                          3207                       Common
 1980 Post Oak Blvd., Suite 1500
 Houston, TX 77056

                                         DECLARATION UNDER PENALTY OF PERJURY
                                       ON BEHALF OF A CORPORATION OR PARTNERSHIP

    I, the                         President                         of the                        Corporation
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true and correct to the
best of my information and belief.




       1/6/2020
Date:__________________________________                            /s/ Keith Smith
                                                        Signature:________________________________________________________
                                                                   Keith Smith
                                                                   President
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